

ORDER

PER CURIAM:
AND NOW, this 9th day of September, 1996, upon consideration of a certified copy of the Certification for Extended Treatment dated July 30,1996, issued by the Westmore-land County Court of Common Pleas at No. 5468 of 1996, filed with this Court pursuant to Pa.R.D.E. 301(c), it is hereby
ORDERED that Sharon L. Wigle is immediately transferred to inactive status as a member of the Bar of this Commonwealth until further Order of this Court, and she shall comply with the provisions of Rule 217, Pa.R.D.E. Any pending disciplinary proceedings shall meanwhile be held in abeyance except for the perpetuation of testimony.
